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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

KERRI MCCONNELL,               )
                               )
          Plaintiff,           )
                               )
                     v.        )                     Case No.
                               )
KANSAS DEPARTMENT OF WILDLIFE, )
PARKS AND TOURISM,             )
                               )
          Defendant.           )
                               )

                                         COMPLAINT

          Plaintiff Kerri McConnell (“Kerri”), for her cause of action against Defendant, Kansas

Department of Wildlife, Parks and Tourism (“KDWPT”), states and alleges as follows:

Parties

   1. Kerri is a resident of the State of Kansas.

   2. KDWPT is a State of Kansas agency and can be served with process by service on Kansas

Attorney General Derek Schmidt, at 120 SW 10th Avenue, 2nd Floor, Topeka, Kansas 66612.

Jurisdiction

   3. The Court has jurisdiction over this matter pursuant to 28 U.S.C. 1343.

Venue

   4. Venue is proper in the District Court for the District of Kansas pursuant to 28 U.S.C. §

1391.
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Allegations of Fact

   5. Kerri is female and resides in Milford, Kansas. Beginning on or about April 14, 2017, she

began working for KDWPT as a seasonal employee in the intensive Walleye program at the

Milford Lake Fish Hatchery (“Hatchery”).

   6. One of the other employees that worked at the Hatchery was Steve Priller (“Priller”), a

male biologist.

   7. After Kerri and Priller started working together, Priller started to harass Kerri by invading

her personal space, touching her inappropriately and making suggestive comments to her, even

after Kerri made known to him that this behavior was not wanted. Priller also tried to get Kerri

terminated and encouraged other employees to take part in this harassment against Kerri.

   8. Kerri would bring these incidents up to her boss, Daric Schneidewind, but he never

properly addressed them.

   9. During one particular incident, Priller slapped Kerri on the buttocks with a drill driver/tool.

   10. Kerri attempted to handle these issues on her own and did not initially make any formal

complaints. However, on or about January 17, 2019, she filed a formal complaint of sexual

harassment and assault to Mr. Schneidewind.

   11. At this time, Mr. Schneidewind admitted to paying Kerri less than the other male seasonal

employees and that he was going to be paying another male seasonal employee more than Kerri

even though he had been there for a shorter period of time than her.

   12. After Kerri made this formal complaint, and while waiting for a response from KDWPT to

the complaint, Priller continued to attempt to get Kerri terminated, attempted to scare her, and even

intimidated her with a knife.
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   13. On February 15, 2019, Kerri received a conclusion letter, which was a “counseling” that

was placed in her official KDWPT personnel file. Instead of addressing the harassment that Kerri

suffered, KDWPT instead reprimanded Kerri for failing to report the behavior when it originally

occurred.

   14. Kerri subsequently made four separate requests for information on how to appeal her

counseling letter but was told that an appeal was not available and that she had exhausted the

agency procedures.

   15. Priller continued to engage in behaviors that were intended to intimidate her or make her

uncomfortable, such as walking close to her, especially from behind.

   16. Kerri also believes that she wrongfully missed out on full time employment with KDWPT,

as she applied and interviewed for a full-time position in the summer of 2018 but was denied such

position and was told by Mr. Schneidewind that they were looking for “someone to get along with

the others…you know how punchy we get.”

   17. On or about March 28, 2019, Kerri filed a Charge of Discrimination with the Equal

Employment Opportunity Commission, charging KDWPT with discrimination and harassment on

the basis of sex and retaliation in violation of Title VII of the Civil Rights Act.

   18. On or about that same time, Kerri injured her back and required some physical restrictions

while at work. Some of those restrictions, for example, was that she could not climb on ladders or

partake in repetitive bending or stooping.

   19. Shortly after Kerri filed her discrimination and harassment claim against KDWPT and she

injured her back, on or about May 9, 2019, Kerri was terminated based on KDWPT’s alleged

inability to accommodate her physical restrictions.
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   20. As a result of KDWPT’s wrongful and discriminatory actions, Kerri has suffered economic

loss in the form of lost income and benefits and the opportunity for a full-time employment

position, as well as noneconomic loss such as humiliation and embarrassment.

   21. Kerri received a Notice of Right to Sue from the Equal Employment Opportunity

Commission on November 8, 2019.

   22. Kerri has exhausted her administrative remedies.

Theories of Recovery

                                          COUNT I
                                        HARASSMENT

   23. Kerri realleges and incorporates herein the allegations contained in paragraphs 1 through

22 above.

   24. Kerri has been subject to unlawful discrimination based on her sex in violation of Title VII

of the Civil Rights Act, 42 U.S.C. §§ 2000e et seq., for which she is entitled to damages.

                                          COUNT II
                                        RETALIATION

   25. Kerri realleges and incorporates herein the allegations contained in paragraphs 1 through

24 above.

   26. Kerri has been subjected to unlawful retaliation in violation of Title VII of the Civil Rights

Act, 42 U.S.C. §§ 2000e et seq., for which she is entitled to damages.

                                   COUNT III
                         AMERICANS WITH DISABILITIES ACT

   27. Kerri realleges and incorporates herein the allegations contained in paragraphs 1 through

26 above.

   28. Kerri has been subjected to unlawful discrimination by having her employment terminated

in violation of the Americans with Disabilities Act of 1990, for which she is entitled to damages.
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        WHEREFORE, Kerri respectfully requests that the Court enter judgment in her favor and

against KDWPT in an amount in excess of $75,000.00; that the costs of this action, including

reasonable attorney fees, be assessed against KDWPT; and that the Court grant such other and

further relief as it deems fair and equitable in the circumstances.


                                               RESPECTFULLY SUBMITTED,


                                                 /s/ Larry G. Michel
                                               Larry G. Michel #014067
                                               Laurel A. Michel #27897
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                                               ATTORNEYS FOR PLAINTIFF



                               DEMAND FOR TRIAL BY JURY

        Plaintiff hereby requests pursuant to Fed.R.Civ.P. 38(b) that all issues of fact be tried to a

jury.

                                                /s/ Larry G. Michel
                                               Larry G. Michel



                            DESIGNATION OF PLACE OF TRIAL

        Pursuant to D.Kan.Rule 40.2, Plaintiff designates Topeka, Kansas as the place of Trial.


                                               /s/ Larry G. Michel
                                               Larry G. Michel
